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                           UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
  10
       CLIFTON W MARSHALL, et al.                 Case No.:
  11                                              2:16−cv−06794−AB−JC

  12                   Plaintiffs,
                                                  ORDER SETTING SCHEDULING
  13          v.                                  CONFERENCE

  14 NORTHROP GRUMMAN CORPORATION, et Date:                         March 20, 2017
     al.                              Time:                         10:00 a.m.
  15                                  Courtroom:                    4
  16                  Defendants.
  17
  18
                    READ THIS ORDER CAREFULLY. IT DIFFERS
  19               IN SOME RESPECTS FROM THE LOCAL RULES.
  20          This case has been assigned to Judge André Birotte Jr. This matter is set for a
  21    scheduling conference on the above date. If plaintiff has not already served the
  22    operative complaint on all defendants, plaintiff promptly shall do so and shall file
  23    proofs of service within three days thereafter. Defendants also shall timely serve and

  24    file their responsive pleadings and file proofs of service within three days thereafter.

  25    At the scheduling conference, the Court will set a date by which motions to amend

  26    the pleadings or add parties must be heard.

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            The conference will be held pursuant to Rule 16(b) of the Federal Rules of
  2    Civil Procedure. The parties are reminded of their obligations under Rule 26(a)(1)
  3    to disclose information (without awaiting a discovery request), and under Rule
  4    26(f) to confer on a discovery plan not later than 21 days before the scheduling

  5    conference and to e-file a “Joint Rule 26(f) Report” with the Court not later than
  6    14 days before the conference. Mandatory paper chambers copies of the Joint Rule
  7    26(f) Report must be delivered to Judge Birotte’s courtesy box located outside of
  8    the Clerk’s office, on the 2nd floor of 312 N. Spring St., Los Angeles, California
  9    by 12:00 p.m. (noon) on the first court day after the e-filing.
  10        The Court encourages counsel to agree to begin to conduct discovery actively
  11   before the Scheduling Conference. At the very least, the parties shall comply fully
  12   with the letter and spirit of Rule 26(a) and thereby obtain and produce most of

  13   what would be produced in the early stage of discovery, because at the Scheduling
  14   Conference the Court will impose strict deadlines to complete discovery.
  15   1.   Joint Rule 26(f) Report
  16        The Joint Rule 26(f) Report, which shall be filed not later than 14 days
  17   before the scheduling conference, shall be drafted by plaintiff (unless the parties

  18   agree otherwise), but shall be submitted and signed jointly. “Jointly” contemplates

  19   a single report, regardless of how many separately-represented parties there are.

  20   The Joint Rule 26(f) Report shall specify the date of the scheduling conference
  21   on the caption page. It shall report on all matters described below, which include
  22   those required to be discussed by Rule 26(f) and Local Rule 26:
  23        a.   Statement of the Case: A short synopsis (not to exceed two pages) of
  24             the main claims, counterclaims and affirmative defenses.

  25        b.   Subject Matter Jurisdiction: A statement of the specific basis of federal

  26             jurisdiction, including supplemental jurisdiction.
  27        c.   Legal Issues: A brief description of the key legal issues, including any
  28             unusual substantive, procedural or evidentiary issues.

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           d.   Parties, Evidence, etc.: A list of parties, percipient witnesses and key
  2             documents on the main issues in the case. For conflict purposes,
  3             corporate parties must identify all subsidiaries, parents and affiliates.
  4        e.   Damages: The realistic range of provable damages.

  5        f.   Insurance: Whether there is insurance coverage, the extent of coverage
  6             and whether there is a reservation of rights.
  7        g.   Motions: A statement of the likelihood of motions seeking to add other
  8             parties or claims, file amended pleadings, transfer venue, etc.
  9        h.   Manual for Complex Litigation: Whether all or part of the procedures
  10            of the Manual for Complex Litigation should be utilized.
  11       i.   Status of Discovery: A discussion of the present state of discovery,
  12            including a summary of completed discovery.

  13       j.   Discovery Plan: A detailed discovery plan, as contemplated by Rule
  14            26(f). State what, if any, changes in the disclosures under Rule 26(a)
  15            should be made, the subjects on which discovery may be needed and
  16            whether discovery should be conducted in phases or otherwise be
  17            limited, whether applicable limitations should be changed or other

  18            limitations imposed, and whether the Court should enter other orders.

  19            A statement that discovery will be conducted as to all claims and

  20            defenses, or other vague description, is not acceptable.
  21       k.   Discovery Cut-Off: A proposed discovery cut-off date. This means
  22            the final day for completion of discovery, including resolution of all
  23            discovery motions.
  24       l.   Expert Discovery: Proposed dates for expert witness disclosures (initial

  25            and rebuttal) and expert discovery cut-off under Rule 26(a)(2).

  26       m. Dispositive Motions: A description of the issues or claims that any party
  27            believes may be determined by motion for summary judgment or motion
  28            in limine. The Court will allow only one motion for summary

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                judgment per party in this case, and will not entertain cross-motions.
  2             Counsel shall meet and confer prior to summary judgment to determine
  3             which party will be the moving party and which will be the opposing
  4             party on summary judgment. To the extent it is appropriate based on

  5             undisputed facts and controlling principles of law, the Court will sua
  6             sponte enter summary judgment in favor of the non-moving party
  7             pursuant to Rule 56(f). If any party believes this is one of the rare
  8             instances in which there is good cause to allow more than one summary
  9             judgment motion or to increase page limits on the moving papers, the
  10            party shall seek leave from the court by a noticed motion setting forth
  11            good cause.
  12        n. Settlement/Alternative Dispute Resolution (ADR): A statement of

  13            what settlement discussions or written communications have occurred
  14            (excluding any statement of the terms discussed). If counsel have
  15            received a Notice to Parties of Court-Directed ADR Program (Form
  16            ADR-08), the case presumptively will be referred to the Court Mediation
  17            Panel or private mediation (at the parties’ expense). If the parties jointly

  18            desire a settlement conference with the assigned magistrate judge, they

  19            should so indicate in their report and the matter will be discussed at the

  20            scheduling conference. No case will proceed to trial unless all parties,
  21            including an officer (with full authority to settle the case) of all corporate
  22            parties, have appeared personally at an ADR proceeding.
  23        o. Trial Estimate: A realistic estimate of the time required for trial and
  24            whether trial will be by jury or by court. Each side should specify (by

  25            number, not by name) how many witnesses it contemplates calling. If

  26            the time estimate for trial given in the Joint Rule 26(f) Report exceeds
  27            four court days, counsel shall be prepared to discuss in detail the
  28            basis for the estimate.

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           p.   Trial Counsel: The name(s) of the attorney(s) who will try the case.
  2        q.   Independent Expert or Master: Whether this is a case where the Court
  3             should consider appointing a master pursuant to Rule 53 or an
  4             independent scientific expert. (The appointment of a master may be

  5             especially appropriate if there are likely to be substantial discovery
  6             disputes, numerous claims to be construed in connection with a
  7             summary judgment motion, a lengthy Daubert hearing, a resolution
  8             of a difficult computation of damages, etc.).
  9        r. Timetable: Complete the Schedule of Pretrial and Trial Dates form
  10            attached as Exhibit A to this Order and attach it to the Joint Rule
  11            26(f) Report. The entries in the “Weeks Before Trial” column reflect
  12            what the Court believes are appropriate for most cases and will allow

  13            the Court to rule on potentially dispositive motions sufficiently in
  14            advance of the pretrial conference. The form is designed to enable
  15            counsel to ask the Court to set different (earlier) last dates by which
  16            the key requirements must be completed. Each side should write in
  17            the month, day, and year it requests for each event. E.g., for the

  18            expert discovery cut-off it might be “10/15/12” for plaintiff and

  19            “10/29/12” for defendant, if they cannot agree. At the conference,

  20            the Court will review this form with counsel. Each entry proposing
  21            Court dates shall fall on a Monday, except the trial date, which is
  22            a Tuesday. Counsel should insure that requested dates do not on
  23            a holiday. In appropriate cases the Court will order different dates
  24            after it hears from counsel. The discovery cut-off date is the last day

  25            by which all depositions must be completed, responses to previously-

  26            served written discovery must be provided, and motions concerning
  27            discovery disputes must be heard. The cut-off date for motions is the
  28            last date on which motions may be heard, not filed. The Court is not

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                 likely to continue this date and will not do so unless the trial date also
  2              is continued.
  3         s.   Other issues: A statement of any other issues affecting the status or
  4              management of the case (e.g., unusually complicated technical or

  5              technological issues, disputes over protective orders, extraordinarily
  6              voluminous document production, non-English speaking witnesses,
  7              ADA-related issues, discovery in foreign jurisdictions, etc.) and any
  8              proposals concerning severance, bifurcation, or other ordering of proof.
  9         The Joint Rule 26(f) Report should set forth the above-described information
  10   under section headings corresponding to those in this Order.
  11   2.   Scheduling Conference
  12        Scheduling conferences will be held in Courtroom 4, 312 N. Spring Street.

  13   Counsel shall comply with the following:
  14        a.   Participation: Although the Court would prefer lead trial attorney’s
  15             attendance at the scheduling conference, it is not required. However,
  16             if lead trial counsel does not attend, any attorney appearing on his
  17             or her behalf must be prepared to discuss the case and authorized

  18             to address scheduling with the Court and opposing counsel.

  19        b.   Continuance: A continuance of the scheduling conference will be

  20             granted only for good cause.
  21   3.   Notice to be Provided by Counsel
  22        Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s counsel,
  23   shall provide this Order to any parties who first appear after the date of this Order
  24   and to parties who are known to exist but have not yet entered appearances.

  25   4.   Disclosure to Clients

  26        Counsel are ordered to deliver to their respective clients a copy of this Order
  27   and of the Court’s trial order, which will contain the schedule that the Court sets
  28   at the scheduling conference.

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       5.    Court’s Website
  2          Copies of this and all other orders of this Court that may become applicable
  3    to this case are available on the Central District of California website, at
  4    www.cacd.uscourts.gov, under “Judge’s Procedures and Schedules,” Hon. André

  5    Birotte Jr.
  6          Copies of the Local Rules are also available on the Court’s website.¹
  7         This Court does not exempt parties appearing pro se from compliance with
  8    the Federal Rules of Civil Procedure or the Local Rules. (Local Rule 83-2.2.3.)
  9
  10        The Court thanks the parties and their counsel for their anticipated cooperation
  11   in complying with these requirements.
  12
            IT IS SO ORDERED.
  13
  14 Dated: November 23, 2016
  15                                         HONORABLE ANDRÉ BIROTTE JR.
                                             UNITED STATES DISTRICT COURT JUDGE
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       _____________________
  26   ¹ They may also be purchased from one of the following:
  27   Los Angeles Daily Journal     West Publishing Company     Metropolitan News
       915 East First Street         50 West Kellogg Blvd.       210 South Spring Street
  28   Los Angeles, CA 90012         St. Paul, MN 55164-9979     Los Angeles, CA 90012


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                                JUDGE ANDRÉ BIROTTE JR.
                    SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

   Case No.

   Case Name


                                                                                                    Plaintiff(s)’ Date   Defendant(s)’ Date
                                               Matter                                                                                         Court Order
                                                                                                     mo / day / year       mo / day / year

   [ ] Jury Trial   or   [ ] Court Trial

   (Tuesday at 8:30 a.m.)        Duration Estimate: ________ Days

   Final Pretrial Conference [LR 16] and Hearing on Motions In Limine
   (Monday at 11:00 a.m. -- three (3) weeks before trial date)

   Motions In Limine must be filed three (3) weeks before this date;
   oppositions are due two (2) weeks before this date; no reply briefs.

                                                                                  Weeks
                                                                                                    Plaintiff(s)’ Date   Defendant(s)’ Date
                                  Event                                           Before                                                      Court Order
                                                                                                     mo / day / year       mo / day / year
                                                                                   Trial

   Last Date to Hear Motion to Amend Pleadings /Add Parties

   Non−Expert Discovery Cut−Off (at least 4 weeks before last
   date to hear motions)                                                           18

   Expert Disclosure (Initial)

   Expert Disclosure (Rebuttal)

   Expert Discovery Cut−Off                                                        14*

   Last Date to Hear Motions (Monday at 10:00 a.m.)                                14**


   Last Date to Conduct Settlement Conference                                      12

   For Jury Trial
   • File Memorandum of Contentions of Fact and Law, LR 16−4
   • File Exhibit and Witness Lists, LR 16−5.6
                                                                                    6
   • File Status Report Regarding Settlement
   • File Motions In Limine

   For Jury Trial
   • Lodge Pretrial Conference Order, LR 16−7
   • File Agreed Set of Jury Instructions and Verdict Forms
   • File Statement Regarding Disputed Instructions, Verdicts,                      5
       etc.
   • File Oppositions to Motions In Limine

   For Court Trial
   • Lodge Findings of Fact and Conclusions of Law, LR 52, and
      Summaries of Direct Testimony


            * The parties may choose to cut off expert discovery prior to MSJ briefing.
            ** Motions for class certification shall be filed in accordance with Local Rule 23−3.



                                                               ADR [LR 16−15] Selection:


               Attorney Settlement Officer Panel                    Private Mediation               Magistrate Judge (with Court approval)

                                                                          EXHIBIT A




                                                                              8
